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                       IN THE UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
Z GALLERIE, LLC,                                                  )   Case No. 19-10488 (___)
                                                                  )
                          Debtor.                                 )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )
                                                                  )
In re:                                                            )
                                                                  )   Chapter 11
Z GALLERIE HOLDING COMPANY, LLC,                                  )
                                                                  )   Case No. 19-10489 (___)
                          Debtor.                                 )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )

                  DEBTORS’ MOTION SEEKING ENTRY OF AN
             ORDER (I) DIRECTING JOINT ADMINISTRATION OF THEIR
         RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion: 1


                                               Relief Requested

         1.        The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (a) directing procedural consolidation and joint administration of their

related chapter 11 cases and (b) granting related relief. Specifically, the Debtors request that the

1   A detailed description of the Debtors and their business, and the facts and circumstances supporting the
    Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Mark Weinsten, Interim President
    and Chief Executive Officer of Z Gallerie, LLC, in Support of Chapter 11 Petitions and First Day Motions (the
    “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief filed under
    chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 11, 2019 (the “Petition
    Date”). Capitalized terms used but not otherwise defined in this motion have the meanings given to them in the
    First Day Declaration.



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Court maintain one file and one docket for all of these chapter 11 cases under the case of Z

Gallerie, LLC, and that these chapter 11 cases be administered under the following caption:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            ) Chapter 11
                                                                  )
Z GALLERIE, LLC, et al.,1                                         ) Case No. 19-10488 (___)
                                                                  )
                                   Debtors.                       ) (Jointly Administered)
                                                                  )
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
    Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.

         2.        The Debtors further request that the Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

         3.        Additionally, the Debtors request that an entry be made on the docket of each of

the Debtors’ chapter 11 cases, other than on the docket of the case of Z Gallerie, LLC, that is

substantially similar to the following:

                   An order has been entered in accordance with Rule 1015(b) of the
                   Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                   Local Rules of Bankruptcy Practice and Procedure of the United
                   States Bankruptcy Court for the District of Delaware directing
                   joint administration of the chapter 11 cases of: Z Gallerie, LLC,
                   Case No. 19-10488 and Z Gallerie Holding Company, LLC, Case
                   No. 19-10489. All further pleadings and other papers shall be filed
                   in and all further docket entries shall be made in
                   Case No. 19-10488.

                                           Jurisdiction and Venue

         4.        The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

                                                         2

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dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

        5.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.         The bases for the relief requested herein are sections 105(a) and 342 of title 11 of

the Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rules 1015-1 and 9013-1(m).

                                             Basis for Relief

        7.         Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The seven Debtor entities

that commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein.

        8.         Further, Local Rule 1015-1 provides additional authority for the Court to order

joint administration of these chapter 11 cases:




                                                    3

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        An order of joint administration may be entered, without notice and an
        opportunity for hearing, upon the filing of a motion for joint administration
        pursuant to Fed. R. Bankr. P. 1015, supported by an affidavit, declaration or
        verification, which establishes that the joint administration of two or more cases
        pending in this Court under title 11 is warranted and will ease the administrative
        burden for the Court and the parties. An order of joint administration entered in
        accordance with this Local Rule may be reconsidered upon motion of any party in
        interest at any time. An order of joint administration under this Local Rule is for
        procedural purposes only and shall not cause a “substantive” consolidation of the
        respective debtors’ estates.

Del. Bankr. L.R. 1015-1.

        9.         Joint administration is generally non-controversial, and courts in this district

routinely order joint administration in cases with multiple related debtors. See, e.g., In Things

Remembered Inc. No. 19-10234 (KG) (Bankr. D. Del. Feb. 7, 2019); In PES Holdings, LLC No.

18-10122 (Same) (Bankr. D. Del. Jan. 23, 2018); In re Bonanza Creek Energy, Inc. No. 17-

10015 (KJC) (Bankr. D. Del. Jan. 1, 2017) (directing joint administration of chapter 11 cases); In

re True Religion Apparel, Inc. No. 17-11460 (CSS) (Bankr. D. Del. July 6, 2017) (same); In re

General Wireless Operations Inc. DBA RadioShack No. 17- 10506 (BLS) (Bankr. D. Del March

10, 2017) (same); In re Horsehead Holding Corp., No. 16-10287 (CSS) (Bankr. D. Del. Feb. 3,

2016) (same). 2

        10.        Given the integrated nature of the Debtors’ operations, joint administration of

these chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each and every Debtor entity. The entry of the Order directing joint

administration of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings




2   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.

                                                        4

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and objections. Joint administration also will allow the U.S. Trustee and all parties-in-interest to

monitor these chapter 11 cases with greater ease and efficiency.

        11.        Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties-in-interest will not be harmed by the relief requested; instead,

parties-in-interest will benefit from the cost reductions associated with the joint administration of

these chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these

chapter 11 cases is in the best interests of their estates, their creditors, and all other

parties-in-interest.

                                                  Notice

        12.        The Debtors will provide notice of this motion to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 50 largest unsecured claims against

the Debtors (on a consolidated basis); (c) the Agent for the Debtors’ prepetition secured credit

facility; (d) counsel to the Agent for the Debtors’ prepetition secured credit facility; (e) counsel

to the DIP Financing Agent; (f) the United States Attorney’s Office for the District of Delaware;

(g) the Internal Revenue Service; (h) the United States Securities and Exchange Commission;

(i) the state attorneys general for all states in which the Debtors conduct business; and (j) any

party that requests service pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light

of the nature of the relief requested, no other or further notice need be given.

                                           No Prior Request

        13.        No prior request for the relief sought in this motion has been made to this or any

other court.


                              [Remainder of page intentionally left blank]
                                                    5

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        WHEREFORE, the Debtors respectfully request entry of an order, substantially in the

form attached hereto as Exhibit A (a) granting the relief requested herein and (b) granting such

other relief as is just and proper.

Dated: March 11, 2019                 /s/ Domenic E. Pacitti
Wilmington, Delaware                  Domenic E. Pacitti (DE Bar No. 3989)
                                      Michael W. Yurkewicz (DE Bar No. 4165)
                                      KLEHR HARRISON HARVEY BRANZBURG LLP
                                      919 N. Market Street, Suite 1000
                                      Wilmington, Delaware 19801
                                      Telephone:    (302) 426-1189
                                      Facsimile:    (302) 426-9193
                                      -and-
                                      Joshua A. Sussberg, P.C. (pro hac vice admission pending)
                                      KIRKLAND & ELLIS LLP
                                      KIRKLAND & ELLIS INTERNATIONAL LLP
                                      601 Lexington Avenue
                                      New York, New York 10022
                                      Telephone:    (212) 446-4800
                                      Facsimile:    (212) 446-4900
                                      -and-
                                      Justin R. Bernbrock (pro hac vice admission pending)
                                      KIRKLAND & ELLIS LLP
                                      KIRKLAND & ELLIS INTERNATIONAL LLP
                                      300 North LaSalle
                                      Chicago, Illinois 60654
                                      Telephone:     (312) 862-2000
                                      Facsimile:     (312) 862-2200

                                      Proposed Co-Counsel for the Debtors and Debtors in Possession




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